Case 3:17-cv-00072-NKM-JCH Document 816-4 Filed 07/24/20 Page 1 of 2 Pageid#:
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6HQW                                    0RQGD\6HSWHPEHU30
7R                                      .DYDQDXJK&KULVWRSKHU 86$9$:
&F                                      *URRPV'DQLHO6LHJHO-RVKXD
6XEMHFW                                 6LQHVY.HVVOHU1RFY :'9D 7RXK\5HTXHVW
$WWDFKPHQWV                             7RXK\/HWWHUWR+RQ7&XOOHQSGI6XESRHQDWR%UHQW0H\HUVB)%,SGI6XESRHQDWR7
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ĞǀŝĚĞŶĐĞƌĞůĞǀĂŶƚƚŽƚŚĞŝƐƐƵĞƐŝŶŽƵƌĐŝǀŝůĐĂƐĞĂŐĂŝŶƐƚŚŝŵĂŶĚŽƚŚĞƌƐ͘ƚƚĂĐŚĞĚŝƐĂdŽƵŚǇƌĞƋƵĞƐƚǁŝƚŚƌĞůĂƚĞĚ
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